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                                           October 23, 2020

By ECF and Email
Honorable Paul A. Engelmayer
United States District Judge
Eastern District of New York 1
40 Foley Square
New York, NY 10007


       Re: United States v. Lucio Celli, 19 Cr. 127 (PAE)

Your Honor:

         I write jointly on behalf of both parties further to the Court’s instructions at the
October 16 conference to address trial date availability. The parties are both available for
a trial any time between March 22, 2021, and the end of April 2021. We believe that a
trial will likely last not more than one week subject to the present constraints on jury
selection. In response to the Court’s query about juries, the government respectfully
refers the Court to Chief Judge Mauskopf, who is overseeing the scheduling of jury trials
in the Eastern District of New York.

       The parties agree that we would like to get a trial date on everyone’s calendars as
soon as practical to avoid scheduling problems. I note, however, that, as discussed at the
conference last week, the defense may move to transfer this case to a district judge from
outside of the Second Circuit; certainly, however, no such motion has yet been granted.
Thank you for your consideration.

                                           Respectfully submitted,

                                            /s/ Benjamin Silverman
                                           Benjamin Silverman

cc: AUSAs Kayla Bensing and Anna Karamigios (by ECF)


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           Sitting by designation.
